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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

UNITED STATES OF AMERICA,                   :
               Plaintiff,                   :
                                            :          CRIMINAL ACTION
      v.                                    :
                                            :          NO. 1:12-CR-323-WSD-ECS
EDWARD K. KIM,                              :
                   Defendant.               :

         RESPONSE TO THIRD-PARTY CLAIM TO FORFEITED PROPERTY &
                    MOTION TO AMEND FORFEITURE ORDER

      COMES NOW the United States and files this response to the

Third-Party     Claim     to     Forfeited      Property      &   Motion     to    Amend

Forfeiture Order filed by Samuel Markham Conder on January 31,

2013. (Doc. 20-1). The United States respectfully requests that

any amended Order of Forfeiture in the instant case be deferred

for the reasons noted below.

I.    Background

      On    September      25,     2012,       the   United       States    filed     an

indictment against the Defendant in this case, Edward Kim. (Doc.

1). The indictment charged Kim with several federal offenses,

and    contained      a   forfeiture       provision       alleging        that,    upon

conviction of certain offenses, the United States would seek the

forfeiture of one .38 caliber Smith and Wesson revolver, serial

number     D328969,       and    assorted       ammunition        seized     therewith




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(collectively the “Seized Property”) pursuant 18 U.S.C. § 924(d)

and 28 U.S.C. § 2461(c). (Doc. 1).

        On December 11, 2012, Kim changed his plea to guilty in the

criminal case, and subsequently agreed to a Consent Preliminary

Order of Forfeiture forfeiting the Seized Property to the United

States. (Docs. 15, 17). After the Court entered a Preliminary

Order     of      Forfeiture        forfeiting       the    Claimed         Property       to   the

United       States,     the     United      States,       pursuant         to   21    U.S.C.     §

853(n)(1) and Fed. R. Crim. P. 32.2(b)(6)(C), began providing

notice of its intent to forfeit the Claimed Property beginning

on    January      9,    2013.      (Doc.    21).    The     United        States     also      sent

direct notice to known potential claimants. Conder subsequently

filed a third-party claim to the Claimed Property by filing a

Third-Party         Claim      to    Forfeited       Property          &    Motion    to     Amend

Forfeiture Order. (Docs. 19-20). The United States now issues

this response to Conder’s motion.

II.     Argument and Citation of Authority

        In     Conder’s     Motion,         Conder    claims        an      interest       in    the

Claimed      Property.      (Docs.        19-20).     The        United     States     does     not

object       to    the   third-party         claim    filed        by      Conder,     does      not

Contest Conder’s alleged interest in the Claimed Property, and

does     not      object    to      the     request        for    an       amended    order       of

forfeiture recognizing such an interest. Before such an order
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may be issued, however, it is necessary that the criminal case

be closed, and that any other potential claimants to the Claimed

Property be allowed an opportunity to assert any interests they

may have to the Claimed Property.

        A.   The entrance of an amended Order of Forfeiture should
             be deferred until after the criminal case is closed.

        The entrance of any amended Order of Forfeiture in the

instant case should be deferred until after the criminal case is

closed because the United States has an interest in ensuring

that potential evidence only be released after the criminal case

has been concluded. For this reason, the United States would

like    to   defer     the   entrance     of    a   Final    Order   of   Forfeiture

recognizing      Conder’s      interest    until     after    sentencing    in   this

case, currently scheduled for February 20th, 2013.

        B.   The entrance of an amended Order of Forfeiture should
             be deferred until after the time has run in which
             potential claimants may submit claims to the Claimed
             Property.

        The entrance of any amended Order of Forfeiture in the

instant case should be deferred until after the time has run in

which     potential     claimants    may       submit   claims   to   the   Claimed

Property because this will ensure a full and fair disposition of

the     rights    to     the    Claimed        Property.     After    the    Consent

Preliminary Order of Forfeiture was entered in this case, the

United States published notice of the intended forfeiture on an
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official government internet site (www.forfeiture.gov) for at

least    30   consecutive        days    beginning      on    January       9,    2013,   in

accordance     with    21    U.S.C.      §   853(n)(1)       and    Fed.    R.    Crim.   P.

32.2(b)(6)(C).        (Doc.      21).    Any     potential         claimant      receiving

notice of an intended forfeiture through publication may within

30 days of the last day of publication file a claim to the

property      intended      to   be     forfeited.      21    U.S.C.       §     853(n)(2).

Because the last day of publication of the Claimed Property on

www.forfeiture.gov occurred on February 7, 2013, other potential

third-party claimants have until March 9, 2013, to file a claim

to the Claimed Property. Id.

III. Conclusion

        Because the criminal case is not yet closed, and because

the time has not yet run in which other potential claimants may

submit claims to the Claimed Property, the United States would

ask   that    the     filing     of     an   amended    Order       of     Forfeiture     be

deferred until 30 days after the criminal case is closed, or

until 30 days after the final date on which potential third-

party    Claimants       may     file    claims    to    the        Claimed       Property,

whichever occurs later. After the criminal case has been closed,

and after the time for other potential third-party claimants to

submit claims to the Claimed Property has run, the United States

will submit to the Court a proposed amended Order of Forfeiture
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recognizing Conder’s alleged interests, assuming no other third-

party Claimants come forward in the interim.

     This 12th day of February, 2013.

                                 Respectfully submitted,

                                 SALLY QUILLIAN YATES
                                 UNITED STATES ATTORNEY


                                 /s/ Dahil D. Goss
                                 DAHIL D. GOSS
                                 ASSISTANT U.S. ATTORNEY
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                          CERTIFICATE OF SERVICE

     I   hereby   certify    that    I    have   prepared     the    foregoing

RESPONSE TO THIRD-PARTY CLAIM TO FORFEITED PROPERTY & MOTION TO

AMEND FORFEITURE ORDER in compliance with N.D.Ga. Local Rule 5.1

using Courier New 12 point type and have this day electronically

filed the document with the Clerk of Court using the CM/ECF

system which will automatically send e-mail notification of such

filing to the attorneys of record.

     Additionally,    I    have   this    day    caused   a   copy    of   the

foregoing to be served on the following entities by placing a

copy of the same in an envelope with adequate postage affixed

thereon and sent first class mail to the following addresses:


Samuel Conder
1615 Victoria Chase
Cumming, GA 30041


     This 12th day of February, 2013.


                                    /s/ Dahil D. Goss
                                    DAHIL D. GOSS
                                    ASSISTANT U.S. ATTORNEY
                                    Georgia Bar No. 302905
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